United States District Court for the |\/|iddle
Dlstrlct Of Tennessee R E C E q V E D

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Shawne||ias Burqess MAR` 510 1015

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Plaintiff,
vs. CASE N0.3:14-CV-01676
A||v Bank
Defendant.
NOTICE OF APPEAL
Notice is hereby given that Shawne||ias Burqess , hereby appeal

 

(here name all parties taking the appeal)

to the United States Court of Appeals for the Sixth Circuit from the final judgment from the
(the final judgment) (frorn an

 

 

 

I\/Iidd|e TN District Court entered in this action 0r1 the ch day of
Order (describing it))
|\/|arch , 2015 .
(S) <{/V

 

 

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AddreserO4O Codv Hi|| Road
Nashvi||e. TN 37211
615.579.5752

Attorney for PrO Se - Plainfiff

 

cc: Opposing Counsel _
Court of Appeals _

 

 

 

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